Cas

JS 44 (Rev. 02/19)

 

purpose of initiating the civil docket sheet.

E (a) PLAINTIFFS
United States of America

(b) County of Residence of First Listed Plaintiff

CIVIL COVER SHEET

The JS 44 civil cover sheet and the information contained hereim neither replace nor supplement the fiting and service of pleadings or other papers as required by law, except as
provided by lacal rules of court. This form, approved by the Fudicial Conference of the United States in September £974, is required for the use of the Clerk of Court for the

Philadelphia _

(EXCEPT IN US. PLAINTIFF CASES)

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United States Attorney's Office
615 Chestnut St. #1250
Philadelphia, PA19106 215-861-8622

(SEE INSTRUCTIONS ON NEXT PAGE OF THIS FORM)

DEFENDANTS

NOTE:

Attorneys (/ Kaown)

 

se 2:19-cv-03896-JHS Document 1 Filed 08/28/19 Page 4 of 33

  

Dr. Stephen C. Padnes

County of Residence of First Listed Defendant Philadelphia

(IN US. PLAINTIFF CASES ONLY)

IN LAND CONDEMNATION CASES, USE THE LOCATION OF
THE TRACT OF LAND INVGLVED.

Fortunato WN. Perri, 3r., Esq.
McMonagle Perri

1845 Walnut St. 19th Fi.

Philadelphia, PA 19103
215-981-0999

 

II. BASES OF JURISDICTION (Place an “x in One Box Only

wi 43 = Federal Question

U.S. Government
Plaintiff

O2 U.S. Goverrunent O04 Diversity

Defendant

 

IV: NATURE OF SUIT (lace an‘

    
   

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(For Diversity Cases Only)

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and One Box for Defendant)

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Click here for: Nature of Suit Code Descriptions.

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OTHER STATUTES

 

 

 

 

 

 

    

 

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|) “PRISONER PETITIONS

Habeas Corpus:
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Vi" ACTION Brief description of cause: “

 

Violations of the Controlied Substances Act and False Claims Act

2

 

CHECK YES only.éf demanded in complaint:

 

 

 

 

VIL REQUESTED IN CO) CHECK IF THIS IS A CLASS ACTION DEMAND $ y
COMPLAINT: UNDER RULE 23, F.R.Cv.P. JURY DEMANP: Yes “ ONo

VII. RELATED CASE) 4 see
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APPLYING IFP

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. Case 2:19-cv-03896-JHS Document 1_ Filed 08/28/19 Page 2 or 33
a UNITED STATES DISTRICT COURT
S . FOR THE EASTERN DISTRICT OF PENNSYLVANIA i ” SK Ge
DESIGNATION FORM
(to be used by coisel or pro se plaintiff fo indicate the category of the case for the purpase of assignment te the appropriate calendar)

Address of Plaintiff, United States Attorney's Office 615 Chestnut St. #1250 Philadelphia, PA 19106

Address of Defendant: ©/o. Fortunate Perri, Esq. 1845 WalmtStrect 19th Fl. Philadelphia, PA 19103

Place of Accident, Irgident or Transaction: Philadelphia, PA
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RELA TED CASE, IF ANY:
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Case Mumber: 19ev3686 Judge: Slomsky Date-Terminated:

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hy T. Cruichlow ASA Attorney LD. # (if appli
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ARBITRATION CERTIFICATION
(The effect of this certification is fo remove the case from eligibility for arbitration.)

, counsel of record or pro se plaintiff, do hereby certify:

 

Z Zoj73e
Lo “dliorney-at Line / / Pro Se -Plaintih Attorney ID, # (if applicable)

 

DATE:

 

 

WO 'Fyarorial de novo will be a trial by jury only if there bas been compliance with F.R.C.P. 38.

 
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FOR THE EASTERN DISTRICT OF PENNSYLVANIA

AWD IN THE UNITED STATES DISTRICT COURT

CASE MANAGEMENT TRACK DESIGNATION FORM.

United States of America DO CIVIL ACTION
Dr. Stephen C, Padnes | ; | NO, (9 ~ iS aL

In accordance with the Civil Justice Expense and Delay Reduction Plan of this court, counsel for
plaintiff shall complete a Case Management Track Designation Form in all civil cases at the time of
filing the complaint and serve a copy on all defendants. (See § 1:03 of the plan set forth on the reverse
side of this form.) In the event that a defendant does not agree with the plaintiff regarding said
designation, that defendant shall, with its first appearance, submit to the clerk of court and serve on
the plaintiff and all other parties, a Case Management Track Designation Form specifying the track
to which that defendant believes the case should be assigned.

SELECT ONE OF THE FOLLOWING CASE MANAGEMENT TRACKS:
(a) Habeas Corpus — Cases brought under 28 U.S.C. § 2241 through § 2255, ( )

(b) Social Security — Cases requesting review of a decision of the Secretary of Health
and Human Services denying plaintiff Social Security Benefits. ( )

(c) Arbitration - Cases required to be designated for arbitration under Local Civil Rule 53.2. ( )

(d) Asbestos — Cases involving claims for personal injury or property damage from
exposure to asbestos. ( )

(e) Special Management — Cases that do not fall into tracks (a) through (d) that are
commonly referred to as complex and that need special or intense management by
the court. (See reverse side of this form for a detailed explanation of special
management cases.) ( )j

(f) Standard Management — Cases that do not fall into any one of the other tracks.

  

 

 

August 28, 2019 John T. Crutchlow, AUSA United States of Ameriéa
Attorney-at-law Attorney for
215-861-8622 215-861-8618 john.crutchlow@usdoj.gov
Telephone FAX Number E-Mail Address

(Civ. 660) 10/02
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A S UNITED STATES DISTRICT COURT

EASTERN DISTRICT OF PENNSYLVANIA
UNITED STATES OF AMERICA,
Plaintiff, :
v. | Civil Action No. 19- “% RIL
DR. STEPHEN PADNES, :

Defendant.

COMPLAINT

The United States of America, through the United States Attorney for the Eastern District
of Pennsylvania, brings this civil action pursuant to the Controlled Substances Act, 21 U.S.C.

§ 801, et seg. (“CSA”), and the False Claims Act, 31 U.S.C, § 3729, ef seq., against Stephen
Padnes, M.D. and in support thereof alleges as follows: |
| | PARTIES

l, Plaintiff is the United States of America.

2. Defendant, Stephen Padnes, M.D. (“Padnes”), is a Pennsylvania resident. During
the time period of the allegations in this complaint, Padnes was licensed to practice medicine in
Pennsylvania and practiced in Philadelphia, Pennsylvania. |

3. The Pennsylvania Board of Medicine suspended Padnes’s license to practice on
August 29, 2016 in response the government’s investigation of Padnes. Padnes also surrendered
his Drug Enforcement Agency (“DEA”) registration and license to prescribe controlled

substances.
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JURISDICTION AND VENUE

4, This action is brought by the United States for civil penalties and injunctive relief
under the CSA, 21 U.S.C. §§ 801-971, and for civil damages and penalties under the False
Claims Act, 31 U.S.C, §§ 3729-33.

5. This Court has subject matter jurisdiction over the alleged CSA civil penalties, 21
U.S.C. § 842, pursuant to 21 U.S.C, § 842(c)(1)(A), and 28 U.S.C. §§ 1331, 1345 and 1355.

6. This Court has subject matter jurisdiction over the alleged CSA injunctive relief,
21 U.S.C. §§ 843(f), 882, pursuant to 21 U.S.C. §§ 843(f), 882, and 28 U.S.C. §§ 1331, 1345.

7, This Court has subject matter jurisdiction over the alleged False Claims Act
counts, 31 U.S.C. § 3729, pursuant to 31 U.S.C. § 3732(a), and 28 U.S.C. §§ 1331, 1345, 1355.

8. This Court has personal jurisdiction over Defendant Padnes because he resides in,
is located in, transacted business in, and committed the acts at issue in this district.

9, Venue is proper in the Eastern District of Pennsylvania under 28 U.S.C. §§ 1391,
1395, and 31 U.S.C. § 3732(a) because defendant is located, resides, did business, and a
substantial part of the events or omissions giving rise to the claims occurred in this district.

STATUTORY AND REGULATORY BACKGROUND

A. The Controlled Substances Act

10. The CSA governs the manufacture, distribution, and dispensing of controlled
substances in the United States, The CSA establishes strict guidelines “to ensure a sufficient
supply for legitimate medical . . . purpose and to deter diversion of controlled substances to
illegal purposes. The substances are regulated because of their potential for abuse and likelihood
to cause dependence when abused and because of their serious and potentially unsafe nature if

not used under proper circumstances.” 75 Fed. Reg. 61613 (Oct. 6, 2010).

 

 

 

 

 
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11. Under the CSA, there are five schedules of controlled substances ~ Schedules I,
Il, Il, IV, and V. Controlled substances are scheduled into these levels based upon their
potential for abuse, among other factors. Schedule II drugs are those that have a “high potential
for abuse” that “may lead to severe psychological or physical dependence,” but have “a currently
accepted medical use in treatment.” 21 U.S.C. § 812(b){2).

12. Pursuant to legislation and administrative action by the Drug Enforcement
Agency (“DEA”), oxycodone, hydrocodone, oxymorphone, methadone, and fentanyl are opioids
classified as Schedule II controlled substances. 21 C.F.R. § 1308.12.

13. Pursuant to legislation and administrative action by the DEA,
dextroamphetamine, a stimulant, is classified as a Schedule II controlled substance. 21 C.F.R.

§ 1308.12.

14. Pursuant to legislation and administrative action by the DEA, alprazolam
(Xanax), clonazepam, and diazepam are classified as Schedule IV controlled substances. 21
C.B.R. § 1308.14.

15. | Oxycodone is a narcotic analgesic that is similar to morphine and is used to treat
severe pain, and, even if taken only in prescribed amounts, can cause physical and psychologicai
dependence. Oxycodone is used in pain relief drugs in varying strengths, including 5, 10, 15, 30,
40, 60, and 80 milligram amounts, OxyContin is a brand name medication that contains
oxycodone. Even if taken only in prescribed amounts, pills containing amounts as low as 5
milligrams of oxycodone can cause physical and psychological dependence.

16. Methadone is a narcotic analgesic that is also classified as a Schedule II
controlled substance, sometimes prescribed under the brand name Dolophine. Methadone pills

come in varying strengths, including 5 and 10 milligram amounts. Methadone is used to treat

 
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severe pain, and even if taken only in prescribed amounts, can cause physical and psychological
dependence. Methadone is a long-acting opioid and, as such, has pharmacological effects over
an extended period of time. Because of this, there is a risk of death and overdose from
methadone. However, because it has a slower onset of action associated with less euphoria than
shorter-acting opioids, combined with its longer duration of action, methadone is preferred for
the suppression of withdrawal in addicted individuals, when used in the context ofa
comprehensive addiction treatment program.

17. All of the products containing oxycodone and methadone are classified by the
DEA as Schedule II controlled substances, which means that they cannot safely be used except
under the supervision of a licensed medical practitioner. 21 U.S.C. § 353(b)C){A).

18. Title 21, United States Code, Section 841(a)(1), provides that “[ejxcept as
authorized by this subchapter, it shall be unlawful for any person knowingly or intentionally . . .
to manufacture, distribute, or dispense, or possess with intent to manufacture, distribute or
dispense, a controlled substance.” Title 21, United States Code, Section 829 provides exceptions
to this prohibition, including permitting physicians or other authorized health professionals to
distribute controlled substances pursuant to a prescription.

19, Title 21, United States Code, Section 802(10), provides that the term “dispense”
means to deliver a controlled substance to an ultimate user or research subject by, or pursuant to
the lawful order of, a practitioner, including the prescribing and administering of a controlled
substance and the packaging, labeling or compounding necessary to prepare the substance for
delivery.

20, Title 21, United States Code, Section 822, explains that every person who

prescribes, dispenses, or distributes controlled substances must be registered to do so with the

 

 
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Attorney General of the United States (with some exceptions, such as delivery persons). The
Attorney General has delegated authority to register persons with the DEA. 21 U.S.C. § 822(a).

21. Title 21, United States Code, Section 821, provides that “[t]he Attorney General
[of the United States] is authorized to promulgate rules and regulations .. . relating to the
registration and control of the manufacture, distribution, and dispensing of controlled
substances.”

22. The Attorney General of the United States has exercised rulemaking authority
regarding the dispensing of controlled substances through the promulgation of 21 Code of
Federal Regulations § 1306.04, governing the issuance of prescriptions, which provides that for a
“prescription for a controlled substance to be effective [it] must be issued for a legitimate
medical purpose by an individual practitioner acting in the usual course of his professional
practice.” Moreover, “[a]n order purporting to be a prescription issued not in the usual course of
professional treatment or in legitimate and authorized research is not a prescription within the
meaning and intent of section 309 of the Act (21 U.S.C. § 829) and the person knowingly filling
such a purported prescription, as well as the person issuing it, shall be subject to the penalties
provided for violations of the provisions of law relating to controlled substances.” 21 C.F.R.

§ 1306.04(a).

 

B. The Pennsylvania Code of Professional and Vocational Standards

23. The Pennsylvania Code of Professional and Vocational Standards, Title 49,
Chapter 16.92, defines the authority of, and requirements for, physicians licensed by the
Commonwealth of Pennsylvania to prescribe or dispense controlled substances. Chapter 16.92
provides in pertinent part:

(a) A person licensed to practice medicine and surgery in this Commonwealth or
otherwise licensed or regulated by the Board, when prescribing, administering or

 
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dispensing controlled substances, shall carry out, or cause to be carried out, the following
minimum standards:

(1) Initial medical history and physical examination. ... {Before
commencing treatment that involves prescribing, administering or dispensing a
controlled substance, an initial medical history shall be taken and an initial
examination shall be conducted unless emergency circumstances justify
otherwise. Alternatively, medical history and physical examination information
recorded by another health care provider may be considered if the medical history
was taken and the physical examination was conducted within the immediately
preceding thirty days. The physical examination shall include an evaluation of
the heart, lungs, blood pressure and body functions that relate to the patient’s
specific complaint.

(2)  Reevaluations. Among the factors to be considered in determining the
number and the frequency of follow-up evaluations that should be recommended
to the patient are the condition diagnosed, the controlled substance involved,
expected results and possible side effects. For chronic conditions, periodic
follow-up evaluations shall be recommended to monitor the effectiveness of the
controlled substance in achieving the intended results.

(3) Patient counseling. Appropriate counseling shall be given to the patient
regarding the condition diagnosed and the controlled substance prescribed,
administered or dispensed. Unless the patient is in an inpatient care setting, the
patient shall be specifically counseled about dosage levels, instructions for use,
frequency and duration of use and possible side effects.

(4) Medical Records. . . . [C]ertain information shail be recorded in the
patient’s medical record on each occasion when a controlled substance is
prescribed, administered or dispensed. This information shali include the name of
the controlled substance, its strength, the quantity and the date it was prescribed,
administered or dispensed to a patient. The medical record shall also include a
specification of the symptoms observed and reported, the diagnosis of the
condition for which the controlled substance is being given and the directions

given to the patient for the use of the controlled substance. If the same controlled
substance continues to be prescribed, administered or dispensed, the medical
record shall reflect changes in the symptoms observed and reported, in the
diagnosis of the condition for which the controlled substance is being given and in
the directions given to the patient.

Cc The Medicare Part D Program and the Medicaid Program

24. Medicare is a federal program administered by the Centers for Medicare &
Medicaid Services (CMS), a federal agency within the U.S. Department of Health and Human

Services (HHS), to pay for the costs of certain health care services provided to eligibie

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individuals. Individual entitlement to Medicare is largely based on age, disability, or affliction
with end-stage renal disease. 42 U.S.C. §§ 1395-1395I1.

25. One piece of the Medicare program is Medicare Part D, which covers the costs of
certain prescription drugs for Medicare beneficiaries. 42 U.S.C. §§ 1395w-101, et seg.; 42
C.F.R. § 423.30(a).

26. Medicare provides Part D coverage through plan “sponsors,” which are private
entities that administer the prescription drug plans on behalf of the federal government.

27. Part D plan sponsors provide reimbursement to pharmacies for drugs, such as
oxycodone and methadone, properly dispensed to Medicare beneficiaries enrolled in Part D.

28. Claims submitted for these drugs are recorded and sent to CMS through a
prescription drug event (PDE) record, which contains information about the drug dispensed, the
beneficiary, the practitioner who prescribed the drug, and payment.

29. CMS makes payments to reimburse the sponsors through (a) monthly estimated
payments based upon the beneficiaries enrolled; (b) cost-sharing subsidies for low-income
individuals; and (c) payments made annually that reconcile the estimated monthly payments with
the allowable costs the sponsor actually incurred. The PDE records are a significant factor
influencing the reimbursement amounts. .

30. Part D plan sponsors repeatedly certify their compliance with applicable federal
laws, regulations, and CMS guidance and certify to the accuracy and truthfulness of the data in
the PDE records as a condition of payment.

31. Medicare only covers drugs that are for a “medically accepted indication,” which
is approved under the Food, Drug, and Cosmetic Act, or as supported in one of the listed

compendia, 42 U.S.C, §§ 1395w-102(e), 1396r-8(g)(1)(B), and (k)(6); 42 C.F.R. § 423,100.

 

 

 
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Any drugs that do not comply with this requirement render the PDE inaccurate, incomplete,
and/or untruthful.

32. If drugs are prescribed for uses that are not “medically accepted indications,” they
are not covered by Part D. 42 U.S.C. §§ 1395w-102(e), 1396r-8(k)(6).

33, In addition, Part D plan sponsors are only permitted to provide benefits for Part D
drugs “that require a prescription if those drugs are dispensed upon a valid prescription.” 42
C.F.R. § 423.104(h). A prescription is only valid if it “complies with all applicable State law
requirements constituting a valid prescription.” 42 C.F.R. § 423.100.

34. Medicaid is a joint federal-state program, also administered for the federal
government by CMS, to pay a significant percentage of the costs of certain health care and
prescription drugs provided to low-income beneficiaries. 42 U.S.C. §§ 1396-1396w-5, The
federal medical assistance percentage contribution to Pennsylvania from fiscal year 2014 to
fiscal year 2016 ranged from 51.82% to 53.52%.

35.  Pennsylvania’s Medicaid program, referred to as “Medical Assistance,” is
administered by the Pennsylvania Department of Human Services, formerly known as the
Department of Public Welfare.

36. Asacondition of payment, Pennsylvania’s Medical Assistance program only pays
for those compensable services and drugs that are “medically necessary.” 55 Pa, Code
8§ {101.61, 1121.1, 1121.21.

FACTUAL ALLEGATIONS

A. The Padnes Medical Practice

37. Padnes held a DEA registration allowing him to prescribe controlled substances
and was subject to the CSA’s requirements at all times from at least January 2000 until

approximately August 30, 2016.

 
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38.  Padnes surrendered his DEA registration on approximately August 30, 2016.

39.  Padnes held a Pennsylvania medical license, from at least January 2000 until
approximately August 30, 2016.

40. Padnes solely owned and operated the medical practice of the Psychosomatic
Medicine and Pain Rehabilitation Center, Inc. (hereinafter the “Pain Center’), which was located
at 1326 Spruce Street, Unit 501, Philadelphia, Pennsylvania, from at least January 2000 until
approximately August 30, 2016,

Al. From at least January 2000 until approximately August 30, 2016, Padnes was the
sole provider of medical services at the Pain Center. He employed others to assist with the
administrative responsibilities of operating the Pain Center, but these employees did not
participate in or perform any medical services.

42. In 2010 and 2011, Padnes charged approximately $250 per visit. In 2012, Padnes
charged approximately $300 per visit. From approximately 2013 to August 30, 2016, Padnes
charged approximately $400 per visit. For first time visits, the charge was approximately $100
more than a visit fee.

43.  Padnes’s Pain Center ledgers show a total gross revenue of at least $2.3 million
from 2010 to August 30, 2016.

44,  Padnes saw approximately seven patients per day, and the visits were long, often
as long as several hours. During the visits, Padnes routinely prescribed controlled substances,
including oxycodone and methadone, Schedule II controlled substances.

45.  Padnes at times wrote prescriptions for controlled substances, including
oxycodone and methadone, Schedule I controlled substances, without a patient visit, but still

delivered the prescriptions to the patient, and still charged the patient as if there had been a visit.

 

 
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46. Based on the government’s investigation and Padnes’s medical records, from
approximately January 2010 to August 30, 2016, Padnes routinely did not perform medical
examinations of his patients, did not render diagnoses, did not advise patients of the risks and
benefits of treatment, did not reassess his patients receiving chronic opioid therapy, did not
monitor his patients for diversion indicators, did not monitor his patients’ response to the
prescribed medication, and did not monitor the patients’ safe use of the prescribed medicine.

47,  Padnes routinely did not maintain medical records for his patients as required in
the usual course of professional practice.

48,  Ineach year between 2010 and 2016, Padnes routinely wrote prescriptions for
controlled substances, including oxycodone and methadone, Schedule 1 controlled substances,
outside the usual course of professional practice and without there being a medically legitimate
purpose for these controlled substances to be issued.

49. | The HHS’s Centers for Disease Control and Prevention (CDC) define morphine
milligram equivalent (MME) as the amount of milligrams of morphine an opioid dose is equal to
when prescribed. MME is used by practitioners to calculate the total amount of opioids a patient
receives, accounting for differences in opioid drug type and strength.

50. | The CDC’s guidance on prescribing opioids for chronic pain states that clinicians
should carefully reassess evidence of individual benefits and risks when considering increasing
dosage to greater than 50 MME per day, and should avoid increasing dosage to greater than 90
MME per day or carefully justify dosages exceeding that threshold.

51, Guidelines published by the Commonwealth of Pennsylvania in July of 2014
stated that more than 100 MME per day is not associated with improved pain control and is

associated with increased risk of harm to patients.

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52.  Padnes often prescribed Schedule IT opioids to patients over extended periods of
months or years that amounted to daily MME doses exceeding 500 MME per day, and in some
cases exceeding 1,000 MME per day, without maintaining medical records consistent with the
usual course of medical practice,

53. In each year from 2013 through 2016, and likely earlier, Padnes knew that
prescriptions he wrote without a legitimate medical purpose were paid for by federal health care
programs, including Medicare Part D and Medicaid.

54, | On numerous occasions between 2013 to 2016, Padnes completed and signed
prior authorization forms that were submitted to federal health care plans justifying the
controlled substances he prescribed to the plan beneficiaries so that the plans would pay for the
drugs.

55, Inthe four years between 2013 and 2016, Medicare Part D paid over $750,000 to
fill more than 4,000 prescriptions issued by Padnes for controlled substances.

56, Inthe four years between 2013 and 2016, Pennsylvania’s Medicaid program paid
over $575,000 to fill more than 4,000 prescriptions issued by Padnes for controlled substances.

B. Representative Padnes Patients

RD. and Customer # 1

57,  Padnes regularly provided R.D. with prescriptions for controlled substances,
including oxycodone, methadone, and Xanax from 2010 until 2016.

58.  Padnes’s records indicate that R.D. personally paid Padnes over $20,000 during
that period, including $3,400 in 2013, $4,600 in 2014, $4,300 in 2015, and $1,600 in 2016.

59. RD. told Padnes that she had a fractured vertebrae and Chronic Obstructive

Pulmonary Disease.

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60.  Padnes did not maintain medical records substantiating either alleged condition.

61.  Padnes did not maintain medical records in the usual course of medical practice
for the vast majority of his interactions with R.D. or the vast majority of prescriptions he wrote
for R.D.

62. Padnes’s records do not reflect that he reassessed R.D., monitored R.D. for
diversion indicators, monitored R.D.’s response to the prescribed medication, or monitored
R.D.’s safe use of the prescribed medication.

63. In the approximately nine months between January 2, 2013 and October 1, 2013,
Padnes provided at least 18 prescriptions for R.D. for Schedule II controlled substances,
including nine prescriptions for a total of 8,400 Methadone (10 milligram (mg)) tablets and nine
prescriptions for a total of 1,305 Oxycodone (30mg) tablets. Pharmacies filled each of these
prescriptions.

64. Together, these prescriptions provided for a morphine equivalent dose exceeding
an average of 1,000 MME per day.

65. Inthe approximately eight months between December 8, 2014 and August 17,
2015, Padnes provided at least 26 prescriptions for R.D, for Schedule II controlled substances,
including 13 prescriptions for a total of 12,600 methadone (10mg) tablets and 13 prescriptions
for a total of 1,650 oxycodone (30mg) tablets. Pharmacies filled each of these prescriptions.

66. Together, these prescriptions provided for a morphine equivalent dose exceeding
1,300 MME per day.

67.  R.D. sold methadone and oxycodone tablets that R.D. obtained with prescriptions

provided by Padnes to drug dealers.

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68, On October 29, 2015, an individual (Customer # 1) entered the Padnes medical
office without R.D. and stated he was a relative of R.D. The office manager handed Customer #
1 five prescriptions made out in the name of R.D, in exchange for $400 in cash. The
prescriptions were comprised of two for 75 oxycodone (30mg) tablets, one for 90 Xanax (1mg)
tablets, and two for 600 (10mg) methadone tablets. Padnes did not meet with Customer # | nor
did office staff attempt to verify Customer # 1’s identity.

69.  Padnes provided those prescriptions in exchange for cash, without any
corresponding office visit or examination of R.D.

70. On November 24, 2015, R.D. introduced Customer #1 to Padnes at the Padnes
medical office.

71. On seven occasions between December 21, 2015 and June 29, 2016, Padnes
provided Customer # 1 prescriptions for controlled substances, including, but not limited to,
seven prescriptions for oxycodone (15mg) tablets and seven prescriptions for methadone (10mg)
tablets.

72. Customer # 1 paid to Padnes $500 in cash the first time Padnes provided
prescriptions to Customer # 1 and $400 in cash each subsequent time.

73. On or about February 22, 2016, March 23, 2016, April 21, 2016, and June 29,
2016, Customer # 1 met with Padnes at the Padnes medical office without R.D. being present.
Each time, Padnes provided three prescriptions for R.D, to Customer # 1 in exchange for $400
cash. Each time, these prescriptions were for 150 oxycodone (30mg) tablets, 90 Xanax (img)
tablets, and 1200 methadone (10mg) tablets.

74.  Oneach such occasion, Padnes exchanged R.D.’s prescriptions for cash without

any corresponding office visit or examination of R.D.

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75.  Ateach of these visits, Padnes also provided prescriptions to Customer #1 in
exchange for an additional $400 in cash. Each time, these prescriptions included oxycodone,
methadone, and cyclobenzaprine.

76.  Padnes did not maintain medical records of the majority of his encounters with

| Customer # 1, never performed a physical examination of Customer # 1, never required
Customer # | to undergo urine drug testing, and never verified Customer # 1’s medical history.

77. None of the prescriptions for controlled substances that Padnes issued for R.D. at
any time were issued for a legitimate medical purpose or in the usual course of medical practice.

78. None of the prescriptions for controlled substances that Padnes issued for
Customer # | at any time were issued for a legitimate medical purpose or in the usual course of
medical practice.

RF.

79. RLF. began seeing Padnes in the 1980s following a back surgery.

80.  Padnes prescribed Schedule II opioids to R.F. from that time until 2014.

81. RLF, personally paid Padnes $11,500 between 2010 and 2014, including $2,900 in
2012, $2,600 in 2013, and $1,500 in 2014.

82, Inthe three years between June of 2011 and June of 2014, Padnes provided to
R.F., and RF. filled, prescriptions for 57,759 methadone (10mg) tablets, an average exceeding
50 tablets per day; 7,518 oxycodone (30mg) tablets, an average exceeding 6 tablets per day;
14,910 OxyContin (80mg) tablets, an average exceeding 13 tablets per day; and 1,266
transdermal fentanyl (100 mcg/hour) patches, an average exceeding one patch per day.

83. Together, these prescriptions provided for a morphine equivalent dose exceeding

an average of 4,000 MME per day.

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84.  Padnes did not maintain medical records in the usual course of medical practice
for the vast majority of his interactions with R.F. or the vast majority of prescriptions he wrote
for R.F.

85. Padnes’s records do not reflect that he examined R.F., reassessed R.F., monitored
RE. for diversion indicators, monitored R.F.’s response to the prescribed medication, or
monitored R.F,’s safe use of the prescribed medication.

86. RF. sold the vast majority of the opioid tablets he obtained with the prescriptions
from Padnes during this time period to a drug dealer who then sold them on the street.

87, R.F. was arrested in mid-2014 for selling opioid pills he obtained with the
prescriptions he received from Padnes.

88. None of the prescriptions for controlled substances that Padnes issued to R.F. at
any time were issued for a legitimate medical purpose or in the usual course of medical practice,

89. _R.F, was a Medicare beneficiary who participated in the Part D program.

90. On multiple occasions, Padnes submitted prior authorization forms to R.F.’s
Medicare Part D plan purporting to justify the prescriptions he wrote for R.F. for controlled
substances. Padnes therefore knew that Medicare Part D paid to fill the prescriptions he wrote
for RF.

91. Between May 1, 2013 and July 31, 2014, Medicare Part D paid over $100,000 to
pharmacies to fill 130 prescriptions for controlled substances that Padnes issued for R.F. without

a legitimate medical purpose. Padnes knowingly caused these false claims to be submitted to the

Medicare Part D program.

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TE.

92.  Padnes regularly prescribed a significant quantity of Schedule IT controlled
substances to T.F., including oxycodone and methadone, from at least as early as 2010 and
continuing unti! at least January of 2015.

93.  Padnes’s records indicate that T.F, personally paid Padnes over $14,000 during
that period, including $3,050 in 2012, $3,640 in 2013, $3,350 in 2014, and $950 in 2015.

94, Prior to seeking prescriptions from Padnes, T.F, received many prescriptions for
Schedule II controlled substances from Jeffrey Bado, D.O. (“Bado”), Bado was convicted in
December of 2016 for illegally prescribing opioids in violation of the CSA.

95. Between April 24, 2014 and January 12, 2015, Padnes issued to T.F., and T.F.
filled at least: 20 prescriptions for a total of 15,340 methadone (10mg) tablets, an average of
approximately 50 tablets per day; 9 prescriptions for a total of 480 OxyContin (80mg) tablets, an
average of approximately 8 tablets per day; 11 prescriptions for a total of 2,310 oxycodone
(30mg) tablets, an average exceeding five tablets per day; and three prescriptions for a total of
360 clonazepam (Img) tablets, an average exceeding one tablet per day.

96. The opioid prescriptions that Padnes issued to T.F. from June of 2011 through
January of 2015 provided for an average daily morphine equivalent dose exceeding 1,700 MME
per day.

97. The opioid prescriptions that Padnes issued to T.F. from January 30, 2014 through

January 12, 2015 provided for an average morphine equivalent dose exceeding 2,000 MME per

day.

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98.  Padnes did not maintain medical records in the usual course of medical practice
for the vast majority of his interactions with T.F, or the vast majority of the prescriptions he
wrote for T.F.

99,  Padnes maintained only scant, undated, and barely legible handwritten notes of
interactions between Padnes and T.F. Those records did not comport with the usual course of
medical practice.

100. Padnes’s medical records do not indicate that Padnes reassessed the significant
quantity of opioids he prescribed to T.F., monitored T.F. for diversion indicators, monitored
T.F.’s response to the opioids he prescribed, or monitored T.F.’s safe use of the prescribed
medication.

101. Accordingly, none of the prescriptions that Padnes issued for T.F. were issued for
a legitimate medical purpose and none were issued in the usual course of medical practice.

102. On January 4, 2017, approximately two years after receiving her last prescription
from Dr, Padnes, T.E. died in Philadelphia at 52 years of age. The City of Philadelphia Medical
Examiner determined that the cause of death was “acute drug intoxication.”

103. T.F. was a Medicaid beneficiary.

104. Medicaid paid over $20,000 to fill dozens of prescriptions for controlled
substances issued by Padnes for T.F. from 2013 through 2015.

105. Padnes personally completed and signed multiple prior authorizations for
Keystone First, T.F.’s Medicaid plan, purporting to justify the prescriptions for the Schedule II
controlled substances that he issued for T.F.

106. Padnes therefore knew that T.F. was a Medicaid beneficiary and that the Medicaid

program paid to fill the Schedule II opioid prescriptions that he issued for T-F.

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107. Padnes knowingly caused these false claims to be submitted to the Medicaid
program.

DM.

108. Padnes regularly prescribed a significant quantity of Schedule If controlled
substances to D.M., including oxycodone and methadone, from at least as early as 2012 and
continuing until June of 2016.

109. Between May 1, 2014 and May 24, 2016, Padnes issued, and D.M. filled, at least
62 prescriptions for a total of 20,800 methadone (10mg) tablets and 24 prescriptions for a total of
2,640 oxycodone (30mg) tablets.

110. These opioid prescriptions provided for an average morphine equivalent dose
exceeding 975 MME per day.

ill. | Padnes maintained only scant, undated, and barely legible handwritten notes of
interactions between Padnes and D.M. Those records did not comport with the usual course of
medical practice.

112. Padnes did not maintain medical records in the usual course of medical practice
for the vast majority of his interactions with D.M. or the vast majority of prescriptions he wrote
for D.M.

113. Padnes’s medical records do not indicate that Padnes ever examined D.M.,
reassessed the significant quantity of opioids he prescribed to D.M., monitored D.M. for
diversion indicators, monitored D.M.’s response to the opioids he prescribed, or monitored
D.M.’s safe use of the prescribed medication.

114. On June 10, 2016, the day after his last visit to Padnes, D.M. died in Philadelphia

~ at 60 years of age. The City of Philadelphia Medical Examiner determined that the cause of

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death was “drug intoxication” resulting from “excessive intake and/or accumulation of
medication.” The manner of death was ruled to be an accident.

115. T.F. and D.M. are two of at least six former long term patients of Padnes who
ultimately died of a drug overdose between 2014 and 2017, either while they were Padnes
patients or later; these patients also included: O.A., who died at 45 years of age on March 25,
2014; M.B., who died at 30 years of age on May 13, 2014; N.D. who died on January 17, 2016 at
51 years of age; and K.B., who died on January 28, 2017 at 46 years of age.

ELL. and C.L.

116. Padnes prescribed Schedule II opioids, including methadone and oxycodone, to
both E.L. and his daughter C.L. from at least as early as 2012 and continuing through at least
2015 for E.L. and 2016 for C.L.

117.  Padnes’s records indicate that E.L. personally paid Padnes over $12,000 from
2012 to 2015, including $2,780 in 2013, $3,900 in 2014, and $2,770 in 2015.

118. Padnes’s records indicate that C.L. personally paid Padnes over $15,000 from
2012 to 2016, including $3,500 in 2013, $4,400 in 2014, $5,300 in 2015, and $2,000 in 2016. |

119. On April 26, 2014, E.L. submitted a urine sample for a urine drug test ordered by
Padnes. E.L.’s urine tested positive for cocaine metabolites, indicating that E.L. used cocaine,
and amphetamines in addition to the methadone and oxycodone Padnes prescribed. Padnes
received the results.

120. Inthe usual course of medical practice, a urine sample indicating simultaneous
use of illicit drugs, including cocaine, and prescription opioids requires the attention and action

of the prescribing physician.

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121. Padnes’s records reflect no recognition of the test results, no discussion with E.L.
regarding the test results, no other mention of E.L.’s use of cocaine and amphetamines, no
change in the prescriptions for oxycodone and methadone that he provided to E.L., and no other
urine or other drug tests. This does not comport with the usual course of medical practice.

122. Inthe fourteen months between May 22, 2014 and July 28, 2015, Padnes issued to
E.L., and ELL. filled, at least: 45 prescriptions for a total of 21,600 methadone (10 mg) tablets
and 17 prescriptions for a total of 1,960 oxycodone (30 mg) tablets.

123. Together, these prescriptions provided for a morphine equivalent dose exceeding
an average of 1,500 MME per day.

124. Padnes did not maintain medical records in the usual course of medical practice
for the vast majority of his interactions with E.L. or the vast majority of prescriptions he wrote
for E.L.

125, ~ Padnes maintained only scant, undated, and barely legible handwritten notes of
interactions between Padnes and E.L. that do not comport with the usual course of medical
practice.

126. Padnes’s medical records do not indicate that Padnes ever physically examined
E.L., reassessed the significant quantity of opioids he prescribed to E.L., monitored E.L. for
diversion indicators, monitored E.L.’s response to the opioids he prescribed, or monitored E.L.’s
safe use of the prescribed medication.

127. Accordingly, none of the prescriptions that Padnes issued for E.L. were issued for
a legitimate medical purpose and none were issued in the usual course of medical practice.

128. E.L. was a Medicaid beneficiary.

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129. Medicaid paid over $5,000 to fill over 100 prescriptions for controlled substances
issued by Padnes for E.L. from May 16, 2013 through July 28, 2015.

130. Padnes maintained in his office file a copy of E.L.’s insurance information from
Keystone First, E.L.’s Medicaid plan, and completed at least one prior authorization for
Keystone First justifying the prescriptions for the Schedule H controlled substances that he
issued for E.L.

131. Padnes therefore knew that E.L. was a Medicaid beneficiary and that the
Medicaid program paid to fill the Schedule II opioid prescriptions that he issued for E.L. Padnes
knowingly caused these false claims to be submitted to Medicaid.

132. Beginning at least as early as December of of 2012, Padnes regularly prescribed
large quantities of methadone and oxycodone to C.L.

133. On April 26, 2014, C.L. submitted a urine sample for a urine drug test ordered by
Padnes. C.L.’s urine test was positive for metabolites consistent with the use of
benzodiazepines, a Schedule IV controlled substance with brand names including Valium, in
addition to the methadone and oxycodone prescribed by Padnes. Padnes received the results.

134. The simultaneous use of benzodiazepines and prescription opioids is potentially
dangerous, with risks that include death.

135, Padnes’s records reflect no mention of prescribing benzodiazepines to C.L., no
recognition of the urine test results, no discussion with C.L. regarding the test results, no change
in the prescriptions for oxycodone and methadone that he provided to C.L., and no other urine or

other drug tests. This did not comport with the usual course of medical practice.

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136. Inthe nineteen months between May 22, 2014 and December 23, 2015, Padnes
issued to C.L., and C.L. filled, at least: 23 prescriptions for a total of 18,060 methadone (10 mg)
tablets and 22 prescriptions for a total of 2,580 oxycodone (30 mg) tablets.

137. Together, these prescriptions provided for a morphine equivalent dose exceeding
an average of 1,000 MME per day.

138. Padnes did not maintain medical records in the usual course of medical practice
for the vast majority of his interactions with C.L. or the vast majority of prescriptions he wrote
for C.L.

139, Padnes maintained only scant, undated, and barely legible handwritten notes of
interactions between Padnes and C.L. that do not comport with the usual course of medical
practice.

140, Padnes’s medical records do not indicate that Padnes ever physically examined
C.L., reassessed the significant quantity of opioids he prescribed to C.L., monitored C.L. for
diversion indicators, monitored C.L.’s response to the opioids he prescribed, or monitored C.L.’s
safe use of the prescribed medication.

141. Accordingly, none of the prescriptions that Padnes issued for C.L. were issued for
a legitimate medical purpose and none were issued in the usual course of medical practice,

JM. and LM.

142. Padnes prescribed opioids to both J.M. and L.M., husband and wife.

143. Padnes regularly prescribed opioids for L.M. for more than a decade. Between
January of 2011 and September of 2016, Padnes issued, and L.M. filled, prescriptions for over

100,000 methadone (10mg) tablets and over 5,700 oxycodone (15mg) tablets.

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144. Between May 20, 2014 and October 29, 2015, Padnes issued at least 42
prescriptions to L.M. for a total of 27,462 methadone (10mg) tablets and 23 prescriptions for a
total of 1,884 oxycodone (15mg) tablets. L.M. filled each of these prescriptions.

145. Together, these prescriptions provided for an average daily morphine equivalent
dose exceeding 1,500 MME per day.

146. Between May 20, 2014 and October 29, 2015, Padnes issued at least 25
prescriptions to J.M. for a total of 8,176 methadone (10mg) tablets and 24 prescriptions for a
total of 1,168 oxycodone (15mg) tablets. J.M. filled each of these prescriptions.

147, Together, these prescriptions provided for an average daily morphine equivalent
dose exceeding 450 MME per day.

148. Padnes did not maintain medical records in the usual course of medical practice
for the vast majority of his interactions with L.M. or the vast majority of prescriptions he wrote
for L.M.

149. Padnes did not maintain medical records in the usual course of medical practice
for the vast majority of his interactions with J.M. or the vast majority of prescriptions he wrote
for J M.

150. Padnes ordered a urine drug test for J.M. and L.M. which were completed based
on a samples obtained on October 29, 2015. The results were faxed to Padnes on November 4,
2015,

151. L.M.’s October 29, 2015 urine drug test detected methadone and cocaine, but did
not detect oxycodone.

152. J.M.’s October 29, 2015 urine drug test did not detect either methadone or

oxycodone.

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153. Padnes received the results on or about November 4, 2015, and knew or should
have known that these results indicated that J.M. was not taking the methadone and oxycodone
as prescribed, that L.M. was not taking the oxycodone as prescribed, and that L.M. was also
using cocaine.

154, Inthe usual course of medical practice, a urine sample indicating simultaneous
use of illicit drugs, including cocaine, and prescription opioids requires the attention and action
of the prescribing physician.

155. The absence of oxycodone from either test, and the absence of methadone from
J.M.’s test, could suggest the medications were not needed, were being illegally diverted, and/or
that J.M. and L.M. were overusing the medications after filling the prescriptions. A prescribing
physician acting in the usual course of medical practice would have determined the reason, taken
appropriate action, and maintained medical records documenting the physician’s findings and
actions.

156. Padnes’s records reflect no recognition of the test results, no discussion with J.M.
or L.M. regarding the test results, no other mention of L.M.’s use of cocaine, no change in the
prescriptions for oxycodone and methadone that he provided to either J.M. or L.M., and no other
urine or other drug tests. This did not comport with the usual course of medical practice.

157. After L.M.’s urine test, from November 30, 2015 through September 16, 2016,
Padnes prescribed, and L.M. filled, at least 22 prescriptions for a total of 14,950 methadone
(10mg) tablets and 12 prescriptions for a total of 1,288 oxycodone (15mg) tablets.

158. Together, these prescriptions provided for an average daily morphine equivalent

dose exceeding 1,600 MME per day.

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159, Padnes’s medical records do not indicate that Padnes reassessed the significant
quantity of opioids he prescribed to L.M., monitored L.M. for diversion indicators, monitored
L.M.’s response to the opioids he prescribed, or monitored L.M.’s safe use of the prescribed
medication.

160. After J.M.’s urine test, from November 30, 2015 through August 16, 2016,
Padnes prescribed, and J.M. filled, at least 11 prescriptions for a total of 5,400 methadone
(10mg) tablets and 11 prescriptions for a total of 675 oxycodone (15mg) tablets.

161. Together, these prescriptions provided for an average daily morphine equivalent
dose exceeding 600 MME per day.

162. Padnes’s medical records do not indicate that Padnes ever physically examined
J.M., reassessed the significant quantity of opioids he prescribed to J.M., monitored J.M, for
diversion indicators, monitored J.M.’s response to the opioids he prescribed, or monitored J.M.’s
safe use of the prescribed medication.

163. Accordingly, none of the prescriptions that Padnes issued for L.M. or J.M. were
issued for a legitimate medical purpose and none were issued in the usual course of medical
practice.

164. L.M. and J.M. were Medicare beneficiaries who participated in the Part D
program.

165. On multiple occasions, Padnes submitted prior authorization forms to L.M.’s and
J.M,’s Medicare Part D plans purporting to justify the prescriptions he wrote for L.M. and J.M.
for controlled substances. Padnes therefore knew that Medicare Part D paid to fill some or all of

the prescriptions he wrote for L.M. and J.M.

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166. Between May 1, 2013 and August 31, 2016, Medicare Part D paid over $7,800 to
pharmacies to fill 227 prescriptions for controlled substances that Padnes issued for L.M. without
a legitimate medical purpose. Padnes knowingly caused these false claims to be submitted to the
Medicare Part D program.

167. Between May 1, 2013 and August 31, 2016, Medicare Part D paid over $2,000 to
pharmacies to fill over 120 prescriptions for controlled substances that Padnes issued for J.M.
without a legitimate medical purpose. Padnes knowingly caused these false claims to be
submitted to the Medicare Part D program.

COUNTS 1-426:
Unlawful Distributing and Dispensing of Controlled Substances in Violation of the
Controlled Substances Act (21 U.S.C. §§ 842(a)(1), 829)

168. The United States re-alleges the above paragraphs as if fully set forth herein.

169. Defendant Padnes is subject to the requirements of Part C of the CSA, 21 U.S.C.
§ 822.

170. As alleged above, Padnes wrote hundreds of prescriptions for, and therefore
distributed and/or dispensed, controlled substances without a legitimate medical purpose and
outside the usual course of professional practice, in violation of 21 U.S.C. § 829(a), (b) and 21
CER. § 1306.04, including, but not limited to:

a. 26 prescriptions for R.D. for Schedule If controlled substances issued between
December 8, 2014 and August 17, 2015, comprised of: 13 prescriptions for
methadone (10mg) tablets and 13 prescriptions for oxycodone (30mg) tablets.

b. 36 prescriptions for Schedule II controlled substances issued to T.F, between May

1, 2014 and January 12, 2015, comprised of: 18 prescriptions for methadone

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(10mg) tablets, 8 prescriptions for OxyContin (80mg) tablets, and 10 prescriptions

for oxycodone (30mg) tablets.

 

c. Atleast 86 prescriptions for Schedule II controlled substances issued to D.M.
between May 1, 2014 and June 10, 2016, comprised of: 62 prescriptions for
methadone (10mg) tablets, and 24 prescriptions for oxycodone (30mg) tablets/

d. 62 prescriptions for Schedule I] controlled substances issued to E.L. between May
1, 2014 and July 28, 2015, comprised of: 45 prescriptions for methadone (10 mg)
tablets and 17 prescriptions for 1,960 oxycodone (30 mg) tablets.

e, 43 prescriptions for Schedule II controlled substances issued to C.L. between May
1, 2014 and December 23, 2015, comprised of: 23 prescriptions for methadone
(10 mg) tablets and 22 prescriptions for oxycodone (30 mg) tablets.

f. 99 prescriptions for Schedule II controlled substances issued to L.M. from May |,
2014 through September 16, 2016, comprised of: 64 prescriptions for methadone
(10mg) tablets and 35 prescriptions for oxycodone (15mg) tablets.

g. 71 prescriptions for Schedule II controlled substances issued to J.M. from May 1,
2014 through August 16, 2016, comprised of: 36 prescriptions for methadone
(10mg) tablets and 35 prescriptions for 8 oxycodone (15mg) tablets.

h, Additional prescriptions for controlled substances that Padnes issued to patients
without a legitimate medical purpose and outside the usual course of medical

practice between May 1, 2014 and September 1, 2016.

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COUNT 427:
Causing the Presentation of False Claims:
31 U.S.C. § 3729(a}(1)(A)

171. The United States re-alleges the above paragraphs as if fully set forth herein.

172. In the four years between 2013 and 2016 Medicare Part D paid over $750,000 to
fill more than 4,000 prescriptions issued by Padnes for controlled substances.

173. Inthe four years between 2013 and 2016, Pennsylvania’s Medicaid program paid
over $575,000 to fill more than 4,000 prescriptions issued by Padnes for controlled substances.
174, Atall relevant times Padnes routinely wrote prescriptions for controlled
substances, including the Schedule II controlled substances oxycodone and methadone, outside

the usual course of professional practice and without a legitimate medical purpose.

175. Padnes routinely completed prior authorization forms for federal health care
plans, and therefore knew that a large percentage of the prescriptions for controlled substances
that he wrote were paid for by federal health care programs, including Medicaid and Medicare.

176. Accordingly, Padnes knowingly caused the presentment of false and fraudulent
claims for payment or approval of prescriptions to Medicare and Medicaid, in violation of 31
U.S.C. § 3729(a)(1)(A), upon the pharmacies’ submission of their claims to Medicare and
Medicaid.

177. By virtue of these false and/or fraudulent claims, the United States has suffered
damages and, therefore, is entitled to treble damages under the False Ciaims Act, to be

determined at trial, plus a civil penalty for each false claim submitted.

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PRAYER FOR RELIEF

WHEREFORE, the United States of America demands judgment against defendant
Stephen Padnes as follows:

1. Civil penalties of up to $25,000 per violation of the CSA occurring on or before
November 2, 2015, 21 U.S.C. § 842(c)(1)(A); and civil penalties of up to $64,820 per violation
of the CSA occurring after November 2, 2015, 28 C.F.R. § 85.5;

2. Injunctive relief, pursuant to 21 U.S.C. §§ 843(f), 882, permanently enjoining
Padnes from prescribing all controlled substances, as defined by the CSA and its implementing
regulations;

3. Damages sustained by the United States, trebled, as mandated by the False Claims
Act, 31 U.S.C. § 3729(a)(L);

4, Civil penalties of between $5,500 and $11,000 for each false claim presented on
or before November 2, 2015, 31 U.S.C. § 3729(a)(1); 28 C.F.R. § 85.3(a)(9); and civil penalties
of between $11,181 and $22,363 for each false claim presented after November 2, 2015, 28
C.FLR. § 85.5; and |

5. Post-judgment interest, costs, and such other and further relief as the Court deems

just and equitable.

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Jurv Demand

The United States hereby demands a trial by jury of all issues so triable pursuant to Rule

38 of the Federai Rules of Civil Procedure.

Dated: August 28. 2019

Respectfully submitted.

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WILLIAM M. McSWAIN
United States Attomey

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GREGORY B. DAVID

 

 

 

 

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